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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                 Eastern Division

Gardell Delmaro Yancey
                                    Plaintiff,
v.                                                    Case No.: 1:25−cv−02922
                                                      Honorable Charles P. Kocoras
Northern Illinois University
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 20, 2025:


        MINUTE entry before the Honorable Charles P. Kocoras: The Court has learned
that Plaintiff Yancey is a restricted filer. The Court refers this matter, including the
pending motion [4] and [6] to the Executive Committee. Mailed notice. (sxh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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